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            EXHIBIT 2
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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER;
BRIANNA BOE, individually and on behalf
of her minor son, MICHAEL BOE; JAMES
ZOE, individually and on behalf of his minor
son, ZACHARY ZOE; MEGAN POE,
individually and on behalf of her minor            Civil Action No. 2:22-cv-
daughter, ALLISON POE; KATHY NOE,                  184-LCB
individually and on behalf of her minor son,
CHRISTOPHER NOE; JANE MOE, Ph.D.;
and RACHEL KOE, M.D.
                                                   DECLARATION OF
       Plaintiffs,                                 MORISSA J. LADINSKY,
                                                   MD, FAAP, IN SUPPORT
v.                                                 OF PLAINTIFFS’
                                                   MOTION FOR
KAY IVEY, in her official capacity as              TEMPORARY
Governor of the State of Alabama; STEVE            RESTRAINING ORDER &
MARSHALL, in his official capacity as              PRELIMINARY
Attorney General of the State of Alabama;          INJUNCTION
DARYL D. BAILEY, in his official capacity
as District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her official
capacity as District Attorney for Lee County;
TOM ANDERSON, in his official capacity as
District Attorney for the 12th Judicial Circuit;
and DANNY CARR, in his official capacity
as District Attorney for Jefferson County.

      Defendants.
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      I, Morissa J. Ladinsky, declare as follows:

      1.    I am an Associate Professor of Pediatrics at the University of Alabama

at Birmingham (“UAB”) School of Medicine.

      2.    I am a practicing physician and a member of the medical staff at the

Children’s Hospital of Alabama and UAB Hospital, both in Birmingham. I am co-

lead of the multi-disciplinary gender clinic at UAB Hospital.

      3.    I obtained a bachelor’s degree (magna cum laude) in Human Biology

from Brown University in 1985. I obtained my medical degree (with honors) from

Baylor University in 1990.

      4.    I was certified by the American Board of Pediatrics in 1993. I am

licensed to practice medicine in Alabama. I have past licensure in Ohio, Maryland,

and Texas when I previously practiced and resided in these states.

      5.    For the last 31 years, I have dedicated my practice to the medical care

of young people. Throughout my career, my patients included transgender young

people. Presently, those transgender patients live in Alabama, Mississippi, Florida,

and Georgia.

      6.    Since starting at the gender clinic at UAB, I have treated approximately

250 transgender young people for gender dysphoria.




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      7.      The treatment of gender dysphoria is well-established in the medical

profession. This is not a pioneering or experimental area of medicine. There are

comprehensive standards of care governing the treatment of gender dysphoria that

were developed by the World Professional Association for Transgender Health

(WPATH), founded in 1979, and Endocrine Society, in collaboration with the

Pediatric Endocrine Society. These guidelines are recognized as the prevailing

standard of care by the major associations of medical professionals, including the

American Medical Association, American Academy of Pediatrics, and the Society

for Adolescent Health and Medicine, to name a few. The current version of the

WPATH standards of care have been in place for more than a decade.

      8.      The treatment of gender dysphoria is also part of medical school

curricula across the country and world. In fact, this subject is taught as part of the

endocrine module to all students at the UAB School of Medicine. The broader topic

of transgender medicine is also found on every state board medical exam, including

in Alabama.

      9.      Incorporated within the standards of care is a process each patient must

follow before beginning any treatment for gender dysphoria. And, as with any

treatment, we also follow a protocol for obtaining informed consent as part of that

process. Standard protocol requires that medical treatment for gender dysphoria is




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not prescribed until a patient meets the rigorous requirements outlined in the

standards of care and consistent with an informed-consent process.

      10.    The informed consent procedures used by the gender clinic at UAB are

very comprehensive. Patients at the clinic begin that process with their primary care

provider and often community based mental health provider before they even have

an initial appointment with a doctor like me. The patient’s mental health provider

thoroughly assesses the patient’s mental health, maturity, presence and acuity of

dysphoria and if indicated, ultimate readiness to undergo medical treatment for

gender dysphoria. Using those assessments as our baseline, our multidisciplinary

team begins its evaluation. We meet with the patient and their parents/legal

guardians, review the risks, benefits, and alternatives of treatment, as medical and

mental health providers do for all treatments. After that initial meeting, we meet

with our patients at regular intervals for follow up, allowing us to monitor the

patient’s gender dysphoria as well as their overall physical and mental health over

time. The team also provides families with materials to review and community-

based supports and resources to connect with in the time between appointments.

      11.    Most of our patients are in the care of the gender clinic for one to three

years before initiating medical treatment for gender dysphoria, depending on when

they first come to the clinic and their individual healthcare needs. Even after that

extended observation and assessment period, we will not prescribe any treatment


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unless the full multidisciplinary team agrees that treatment is appropriate, and the

patient and the patient’s parents fully understand, have the capacity to consent, and

sign the informed-consent forms. This process is intentionally set up to ensure all

involved are making an informed, measured decision, from the healthcare providers

to the patients and their parents.

      12.    Throughout this evaluation information-sharing process, patients are

encouraged to avail themselves of the various services offered as part of our

multidisciplinary clinic, including pastoral care. The purpose of these services is to

get a full picture of a patient’s health, wellbeing, household support, and functioning.

Each of those data points help determine whether a potential treatment option may

be appropriate for any given patient.

      13.    Once a patient begins medical treatment, their progress is monitored at

regular intervals, typically every six months, to assess the efficacy of the prescribed

treatment through a physical examination or laboratory tests. This ongoing

monitoring also ensures ongoing evaluation of a patient’s mental health and the

chance to address any questions the patient or their parents may have.

      14.    I understand that Governor Ivey signed the Vulnerable Child

Compassion and Protection Act (the “Act”). My understanding is that the Act

expressly prohibits physicians, and others, from doing or saying anything that could

cause a transgender young person, under age 19, in Alabama to undergo medical


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treatment for gender dysphoria. I further understand that violating the Act exposes

Alabama healthcare providers and others to criminal prosecution, which could result

in a prison sentence or substantial fine.

      15.    Puberty-blocking medication and hormone-replacement therapy have

greatly improved the physical and mental health and wellbeing of my patients.

Denying my patients access to these well-established medical treatments will cause

the mental health of many of my patients to regress, including increasing their

suicidality and likelihood of attempting suicide. To cease ongoing care, without a

medical basis, would violate my professional, ethical, and legal obligations by

forcing me to harm my patient.

      16.    In the days since the Act was signed into law, I have met with numerous

patients who are experiencing significant psychological distress due to the prospect

of the Act going into effect. One teenage patient was visibly trembling in fear.

Parents are regularly calling the clinic in tears. The uncertainty weighs heavily on

the minds of my patients and their parents. And, for some, their worst fears have

already started to materialize: several of my patients have reported to me that their

pharmacies are refusing to fill prescriptions relating to the treatment of their gender

dysphoria, including for menstrual suppression medications which are supposedly

not criminalized by the Act.




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